







		NO. 12-08-00041-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




§
	APPEAL FROM THE 


IN THE INTEREST OF T.W.T.,§
	COUNTY COURT AT LAW OF

A MINOR CHILD

§
	CHEROKEE COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of prosecution.  See Tex. R. App. P. 42.3(b).
Appellants perfected her appeal on January 22, 2008.  Thereafter, the reporter's record was filed on
March 26, 2008, making Appellant's brief due on or before April 25, 2008.  When Appellant failed
to file her brief within the required time, this court notified her on April 30, 2008 that the brief was
past due and warned that if no motion for extension of time to file the brief was received by May&nbsp;12,
2008, the appeal would be dismissed for want of prosecution under Texas Rule of Appellate
Procedure 42.3(b).  The notice further informed Appellant that the motion for extension of time must
contain a reasonable explanation for her failure to file the brief and a showing that Appellee had not
suffered material injury thereby.

	To date, Appellant has neither complied with or otherwise responded to this court's April&nbsp;30,
2008 notice.  Accordingly, we dismiss the appeal for want of prosecution.  See Tex. R. App. P.
38.8(a)(1), 42.3.(b).

Opinion delivered May 14, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(PUBLISH)


